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    1   BRODSKY MICKLOW BULL & WEISS LLP
        Kurt Micklow, State Bar No. 113974
    2   Edward M. Bull III, State Bar No. 141966
        1070 Marina Village Parkway, Suite 200
    3   Alameda, California 94501
        Telephone: (510) 268-6180
    4   Facsimile: (510) 268-6181
    5   Attorneys for Plaintiff
        CLARK L. WATERS
    6
    7
                                  UNITED STATES DISTRICT COURT
    8
                                  CENTRAL DISTRICT OF CALIFORNIA
    9
   10
        CLARK L. WATERS,                          )        CASE NO.
   11                                             )
                                                  )        COMPLAINT FOR PERSONAL
   12                                 Plaintiff,  )        INJURIES - NEGLIGENCE
                                                  )        UNDER THE JONES ACT;
   13   vs.                                       )        BREACH OF THE WARRANTY
                                                  )        OF SEAWORTHINESS; AND
   14   EMILIO CASTANEDA, CARI                    )        MAINTENANCE AND CURE
        CASTANEDA and DOES 1-5, in                )
   15   personam, and M/Y ALEXIS, her engines, )           DEMAND FOR JURY TRIAL
        tackle, apparel, furniture, and           )
   16   appurtenances, in rem;                    )        [Pursuant to 28 U.S.C. §1916
                                                  )        Plaintiff Waters is Entitled to File
   17                                 Defendants. )        this Complaint Without Prepayment
                                                  )        of Court Filing Fee]
   18   ___________________________________ )
   19
                                                    I.
   20
                                      GENERAL ALLEGATIONS
   21
                 1.   Plaintiff CLARK L. WATERS (hereafter “Plaintiff”) brings and maintains
   22
        this action based upon the General Maritime Law pursuant to the United States
   23
        Constitution Article III, Section 2, the Jones Act, 46 U.S.C. §30104, and 28 U.S.C.
   24
        §1333.
   25
                 2.   Plaintiff was at all times herein a seaman within the meaning of the Jones
   26
        Act and the General Maritime Law. As such, Plaintiff is entitled under the provisions of
   27
        28 U.S.C. §1916 to bring this Complaint without prepayment of court’s filing fee or the
   28
        posting of a bond.

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    1          3.     CLARK W. IGLESIAS (“Iglesias”) was at all times herein Plaintiff’s son
    2   and is a minor.
    3          4.     Plaintiff is an American citizen who currently resides in La Paz, Mexico.
    4          5.     Iglesias was born in Mexico and resides in La Paz with his father.
    5          6.     At all times herein mentioned, M/Y ALEXIS (the “Vessel”) was a United
    6   States flagged vessel afloat upon navigable waters of the United States and/or the high
    7   seas. M/Y ALEXIS is a Hatteras yacht with its hailing port in Huntington Beach,
    8   California, within this District, and was at all relevant times owned by Defendants
    9   EMILIO and CARI CASTENEDA. Plaintiff is informed and believes that M/Y ALEXIS
   10   is or will be within the Central District of California during the pendency of this action.
   11          7.     Plaintiff is informed and believes and thereon alleges that at all times
   12   relevant, Defendants CARI and EMILIO CASTANEDA do business within the State of
   13   California, and reside in Newport Beach, California, and are subject to personal
   14   jurisdiction and venue in this District.
   15          8.     At all times relevant, Plaintiff is informed and believes that Defendants
   16   EMILIO and CARI CASTANEDA are the legal owners and operators of M/Y ALEXIS,
   17   and that said Vessel was managed, crewed, maintained, controlled, outfitted and
   18   navigated by Defendants EMILIO and CARI CASTANEDA, and at all times Defendants
   19   managed and controlled said Vessel from their home in this District. In addition to the
   20   Vessel being a United States flag vessel, and being home ported in this District, the
   21   Vessel captain and her crew, and all other witnesses to the accident, are located in this
   22   District, as are Plaintiff’s treating doctors and surgeon. Plaintiff is ignorant of the true
   23   names and capacities of the Defendants sued herein as DOES 1 through 5, and therefore
   24   Plaintiff sues these Defendants by such fictitious names. Plaintiff will amend the
   25   Complaint to allege their true names and capacities when ascertained. In the meantime,
   26   Plaintiff is informed and believes that each of the fictitiously named Defendants is
   27   affiliated in one way or another with Defendants EMILIO and CARI CASTANEDA, and
   28   are responsible in some manner for the occurrences herein alleged.


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    1          9.     Plaintiff is informed and believes that all of the Defendants, including those
    2   sued as DOES 1 through 5, were and are the agents, alter egos, partners, joint venturers,
    3   co-conspirators, principals, shareholders, servants, employers, employees and the like of
    4   their co-Defendants, and in doing the things hereinafter mentioned, were acting within the
    5   course and scope of their authority as such agents, alter egos, partners, joint venturers,
    6   co-conspirators, principals, shareholders, servants, employers, and employees and the like
    7   with the permission, ratification or consent of their co-Defendants and thus are legally
    8   liable for all of the damages, including punitive damages if any, resulting from the acts or
    9   omissions of the others.
   10          10.    On or about July 12, 2013, while Plaintiff was working in the course and
   11   scope of his duties as a seaman aboard M/Y ALEXIS, employed by Defendants EMILIO
   12   and CARI CASTANEDA and DOES 1-5, inclusive, Plaintiff suffered debilitating and
   13   painful physical injuries, including primarily to his back. The injuries occurred when
   14   Plaintiff was following the orders of the yacht’s captain, Joaquin Moya (“Captain
   15   Moya”), and attempting to launch the Vessels tender (life boat) as the Vessel was taking
   16   on water from an unseaworthy propeller shaft seal, and according to the panicking
   17   Captain Moya, rapidly sinking (as it turned out the Vessel remained afloat for hours after
   18   the crew abandoned ship). At the time of his injury, Plaintiff was ordered to secured the
   19   life raft which was swinging uncontrollably. In carrying out these orders, Plaintiff was
   20   crushed between one dinghy into another, injuring his back. His son, Iglesias, suffered
   21   emotional and psychological injuries, and at all times was within the zone of physical
   22   danger aboard the sinking yacht. At all relevant times Iglesias was lawfully aboard the
   23   Vessel as a passenger.
   24                                                II.
   25                                 FIRST CLAIM FOR RELIEF
   26                       ( For Jones Act Negligence Against Defendants
   27                EMILIO and CARI CASTANEDA and DOES 1-5, inclusive)
   28          11.    Plaintiff refers to and by that reference incorporates as though fully set


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    1   forth herein each and every allegation contained in paragraphs 1 through 10, above.
    2          12.    Defendants EMILIO and CARI CASTANEDA and DOES 1-5, inclusive,
    3   owed Plaintiff a duty to use reasonable care in all aspects of the employment relationship
    4   between them and, among other things, to provide Plaintiff with a reasonably safe place
    5   to work.
    6          13.    Defendants EMILIO and CARI CASTANEDA, both individually and
    7   through their agent Captain Moya, and DOES 1-5, inclusive, breached this duty of care
    8   in a number of ways, including, but not limited to, the following:
    9          (a)    failing to properly maintain the Vessel;
   10          (b)    failing to provide sufficient and properly trained captain and crew to safely
   11   navigate the Vessel;
   12          (c)    requiring Plaintiff to perform tasks that needlessly placed him at
   13   foreseeable risk of injury;
   14          (d)    failing to safely direct the abandoning of the Vessel;
   15          (e)    needlessly abandoning the Vessel under adverse conditions;
   16          (f)    failing to exercise ordinary care under the circumstances to have the
   17   Vessel’s training, equipment and work methods in such a condition that Plaintiff would
   18   be able to work and travel aboard the Vessel with reasonable safety;
   19          (g)    failing to abide by safety laws, regulations, statutes and customs and
   20   practice necessary for safety at sea;
   21          (h)    failing to provide a reasonably safe means of ingress and egress from the
   22   Vessel; and
   23         (i)     failing to provide Plaintiff with a safe place to work.
   24         14.     As a result of the aforesaid negligent acts and omissions, among others,
   25 Defendants EMILIO and CARI CASTANEDA and DOES 1-5, inclusive, breached the
   26 duty of care they owed to Plaintiff.
   27         15.     As a legal result of such negligence on the part of Defendants EMILIO and
   28 CARI CASTANEDA and DOES 1-5, inclusive, Plaintiff has sustained physical and


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    1 emotional injuries.
    2         16.    As a further legal result of the negligence of Defendants EMILIO and CARI
    3 CASTANEDA and DOES 1-5, inclusive, Plaintiff has sustained and will continue to
    4 sustain economic damages, including without limitation, past and future medical expenses
    5 and past and future loss of earnings and benefits, all of which will be established at trial
    6 according to proof.
    7         17.    As a further legal result of the negligence of Defendants EMILIO and CARI
    8 CASTANEDA and DOES 1-5, inclusive, Plaintiff has incurred and will in the future incur
    9 non-economic damages, including physical and emotional pain and suffering, all of which
   10 will be established at trial according to proof.
   11                                               III.
   12                              SECOND CLAIM FOR RELIEF
   13     (For Breach of the Warranty of Seaworthiness In Personam Against Defendants
   14        EMILIO and CARI CASTANEDA and DOES 1-5, inclusive, and In Rem
   15                                    Against M/Y ALEXIS)
   16         18.    Plaintiff refers to and by that reference incorporates as though fully set forth
   17 herein each and every allegation contained in paragraphs 1 through 17, above.
   18         19.    At all times herein relevant, Plaintiff was acting in the service of M/Y
   19 ALEXIS performing duties of the type performed by a seaman and whose presence was
   20 necessary for the operation of the Vessel.
   21         20.    By the provisions of the General Maritime Law of the United States,
   22 Defendants EMILIO and CARI CASTANEDA and DOES 1-5, inclusive, by and through
   23 their agents, employees and servants, warranted to Plaintiff that M/Y ALEXIS, and her
   24 decks, gear, passageways, equipment, appurtenances, tools, crew members, training and
   25 work methods were seaworthy and in compliance with applicable laws, statutes, standards
   26 and regulations enacted for the safety of the crew.
   27         21.    As alleged herein, M/Y ALEXIS, her decks, lines, gear, passageways,
   28 equipment, appurtenances, tools, crew members, training and work methods were not


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    1 seaworthy and were not in compliance with applicable laws, statutes, standards and
    2 regulations enacted for the safety of the crew. Defendants EMILIO and CARI
    3 CASTANEDA and DOES 1-5, and the Vessel, inclusive, violated and breached the
    4 warranty of seaworthiness owed to Plaintiff in the following respects, among others:
    5         (a)    failing to properly maintain the Vessel;
    6         (b)    failing to provide sufficient and properly trained captain and crew to safely
    7 navigate the Vessel;
    8         (c)    failing to maintain a reasonable abandon ship procedure;
    9         (d)    failing to have the Vessel’s training, equipment and work methods in such a
   10 reasonably fit condition that Plaintiff would be able to work aboard the Vessel with
   11 reasonable safety;
   12         (e)    failing to abide by safety laws, regulations, statutes and customs and practice
   13 necessary for safety at sea;
   14         (f)    failing to provide a reasonably safe means of ingress and egress from the
   15 Vessel; and
   16         (g)    failing to provide Plaintiff with a safe place to work.
   17         22.    As a legal result of these breaches, Plaintiff sustained physical and
   18 emotional injuries.
   19         23.    As a further legal result of Defendants’ breaches, Plaintiff has sustained and
   20 will continue to sustain economic damages, including without limitation, past and future
   21 medical expenses and past and future loss of earnings and benefits, all of which will be
   22 established at trial according to proof.
   23         24.    As a further legal result of Defendants’ breaches, Plaintiff has incurred and
   24 will in the future incur non-economic damages, including physical and emotional pain and
   25 suffering, all of which will be established at trial according to proof.
   26         25.     Plaintiff has and is asserting herein a maritime lien and an in rem claim
   27 against the Vessel for all of the above described economic and non-economic damages
   28 caused by the unseaworthiness of the Vessel.


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    1                                               IV.
    2                               THIRD CLAIM FOR RELIEF
    3   (For Maintenance and Cure and Unearned Wages In Personam Against Defendants
    4        EMILIO and CARI CASTANEDA and DOES 1-5, inclusive, and In Rem
    5                                    Against M/Y ALEXIS)
    6         26.    Plaintiff refers to and by that reference incorporates as though fully set forth
    7 herein each and every allegation contained in paragraphs 1 through 25, above.
    8         27.    According to the General Maritime Law, when a seaman becomes ill or
    9 injured while in the service of a vessel, the employer is liable in personam and the vessel
   10 itself is liable in rem to provide the seaman with all reasonable medical care (“cure”) and
   11 pay to the seaman a reasonable rate of daily financial maintenance sufficient to cover his
   12 room and board (“maintenance”) from the date he became disabled until he reaches
   13 “maximum cure.”
   14         28.    Plaintiff was injured on July 12, 2013, while he was employed by
   15 Defendants EMILIO and CARI CASTANEDA and DOES 1-5, inclusive, and working in
   16 the service of M/Y ALEXIS. Notwithstanding their obligations under the General
   17 Maritime Law, Defendants EMILIO and CARI CASTANEDA and DOES 1-5, inclusive,
   18 have failed, to timely furnish, provide for and/or pay for the full amount of maintenance
   19 and cure owed and owing to Plaintiff.
   20         29.    Plaintiff also has and is asserting herein a maritime lien and an in rem claim
   21 against M/Y ALEXIS for all unpaid maintenance and cure.
   22                                               V.
   23                                   PRAYER FOR RELIEF
   24         WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, as
   25 follows:
   26         1.    That process in due form of law, according to the practices of this Honorable
   27 Court in causes of admiralty and maritime jurisprudence, may issue against M/Y ALEXIS,
   28 her engines, tackle, apparel, appurtenances, etc., and that all persons having or claiming


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    1 any interest therein be cited to appear and answer, under oath, all and singular, the matters
    2 alleged herein; that Plaintiff have a judgment for his damages aforesaid, with interest and
    3 costs; and that M/Y ALEXIS be arrested and sold to satisfy Plaintiff’s judgment;
    4         2.   That process in due form of law according to the practice of this Honorable
    5 Court issue against the Defendants, citing them to appear and answer all and singular the
    6 matters aforesaid;
    7         3.   That Plaintiff may have judgment for his past and future economic damages
    8 in amounts according to proof at trial;
    9         4.   That Plaintiff may have judgment for his past and future non-economic
   10 damages in amounts according to proof at trial;
   11         5.   That Plaintiff be awarded prejudgment interest on the amounts of the
   12 damages awarded;
   13         6.   That Plaintiff be awarded his past maintenance and cure in amounts necessary
   14 to make him whole according to proof at trial;
   15         7.   For costs of suit herein; and
   16         8. That Plaintiff be awarded such other and further relief as this Honorable
   17 Court deems just and proper.
   18
   19 DATED: July 11, 2016                Respectfully submitted,
   20                                     BRODSKY MICKLOW BULL & WEISS LLP
   21
   22                                              By: /Edward M. Bull III
                                                         Edward M. Bull III
   23
                                          Attorneys for Plaintiff
   24                                     CLARK L. WATERS
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    1                                             VI.
    2                              DEMAND FOR JURY TRIAL
    3        Plaintiff hereby demands a trial by jury.
    4
        DATED: July 11, 2016             Respectfully submitted,
    5
                                         BRODSKY MICKLOW BULL & WEISS LLP
    6
    7
                                         By:    /Edward M. Bull III
    8                                           Edward M. Bull III
    9                                    Attorneys for Plaintiff
                                         CLARK L. WATERS
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